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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


In re:
                                                                         Chapter 11
                            1
ZOHAR III, CORP., et al.,

                                Debtors                                  Case No. 18-10512 (KBO)


LYNN TILTON, et. al.,
                                                                         Case No. 19-1874 (MN)
                                Appellants,

                 v.

ZOHAR III, CORP., et. al.

                                Appellees.


    MBIA INSURANCE CORPORATION’S DISCLOSURE STATEMENT PURSUANT
     TO RULE 8012 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                 Pursuant to Rule 8012 of the Federal Rules of Bankruptcy Procedure, MBIA

Insurance Corporation (“MBIA”), by and through its counsel, hereby discloses that MBIA is a

wholly-owned subsidiary of MBIA Inc. MBIA Inc. is a publicly-held corporation whose shares

are traded on the New York Stock Exchange. No publicly-held corporation owns more than 10%

of the shares of MBIA Inc. MBIA Insurance Corporation is not a publicly-held corporation.




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  The Debtors, and, where applicable, the last four digits of their taxpayer identification number, are as
follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar
III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The
Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.




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Dated:           October 30, 2019
                 Wilmington, Delaware

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